207 F.2d 773
    George V. AYLWARD, Jr., Trustee in Bankruptcy of Charley Cole Appliance Company, Inc., a corporation, Bankrupt, Appellant,v.Charles COLE.
    No. 14823.
    United States Court of Appeals Eighth Circuit.
    October 28, 1953.
    
      Appeal from the United States District Court for the Western District of Missouri.
      W. Arnold Brannock and Thomas D. Circle, Kansas City, Mo., for appellant.
      Phineas Rosenberg and Howard F. Sachs, Kansas City, Mo., for appellee.
      PER CURIAM.
    
    
      1
      Cause dismissed with prejudice at costs of appellant, on stipulation of parties.
    
    